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Plaintiff(s), pro se

                 IN THE UNITED STATES DISTRICT COURT

                      FOR THE DISTRICT OF ARIZONA

Trevor Reid,                                 | Case No.
                                             | CV-22-00068-PHX-SMB
Crystale Reason                              |
                                             |
               Plaintiffs                    |
                                             |
v.                                           |
                                             | PLAINTIFFS’ REPLY IN
United States of America, et al              | SUPPORT OF MOTION FOR
                                             | PARTIAL SUMMARY
              Defendants                     | JUDGMENT
                                             | [RE: DOCS. 39,40, 41, 42]


         Plaintiffs, Trevor Reid and Crystale Reason, reply in support of their

Motion for Partial Summary Judgment (Doc. 39).

         The Defendant United States of America (the Government) has cited

no binding authority for its position that “[t]he filing of the Partial Motion to

Dismiss the Amended Complaint tolled the filing of the Government’s

Answer.” (Doc. 41 at p. 2). The Government insists that this tolling, for

which there is no provision in the text of the Rules, must operate

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automatically despite the Court, by a clear Order (Doc. 31), having set “a

different time” as expressly provided for in Fed. R. Civ. P. 12(a)(4). The

parties certainly agree this is the Rule that governs the deadline. And yet, the

Government’s position contradicts the language of the Rule, which expressly

provides that it is this Court that presides over the timetable in this case.

      All of the Defendant’s dire portents, “confusion” and “duplication”

and so on, are avoidable without reading tolling, which is not there, into the

Rule. If necessary, parties have what is undeniably in the Rules to rely on —

the Court’s discretion to modify the effect of serving a motion under Rule 12

on the deadline. This discretion is very broad until the deadline has passed. It

is the perfect tool to avoid difficulties of all sorts. But relief must be sought.

Fed. R. Civ. P. 7(b)(1)(C).

      If the Defendant needed one deadline for a responsive motion and

another to make an Answer, that should have been requested, rather than

presumed. The Government claims past practice in some, but not all,

District Courts requires tolling to pop-up automatically in this case. But no

departure from the plain language of the Rules was ever requested via a

motion compliant with Fed. R. Civ. P. 7(b)(1) in this case, nor from the

Court’s Order (Doc. 31). As such, Plaintiffs had no notice nor opportunity to

respond to the Government’s desire for a particular deadline.


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      Ultimately, the Government, having requested no extension, was

ordered by the Court to respond within 20 days and this is completely

consistent with Fed. R. Civ. P. 12(a)(4). However, the Government’s

eventual response ignored parts of the Amended Complaint (Doc. 28) even

though the Court had made no ruling permitting this. Summary Judgment

should be granted as to those factual allegations that the Government

ignored.

      Respectfully submitted this 23rd day of March, 2023.

                                      s/ Trevor Reid, plaintiff pro se

                                      s/ Crystale Reason, plaintiff pro se




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                    CERTIFICATE OF SERVICE

     I certify that on March 23, 2023 the foregoing document was provided

via CM/ECF or mail to:

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                                                      s/Crystale Reason




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